            Case 2:25-cv-02716-FLA-JPR                        Document 11             Filed 04/05/25            Page 1 of 2 Page ID
                                                                    #:43                                                                            POS-010
 ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):                                              FOR COURT USE ONLY

      Jason M. Ingber Esq. (SBN: 318323)
     INGBER LAW GROUP
     3580 Wilshire Blvd., Suite 1260
     Los Angeles, California 90010
 TELEPHONE NO.: (310) 270-0089                            FAX NO. (Optional):
 E-MAIL ADDRESS (Optional): ji@jasoningber.com
 ATTORNEY FOR (Name): Plaintiffs, Chaim Daniel Wolmark and Classics Auto Body Inc.
                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA
PLAINTIFF/PETITIONER: CHAIM DANIEL WOLMARK, an individual, et al.                                        CASE NUMBER:
DEFENDANT/RESPONDENT: STATE FARM MUTUAL AUTOMOBILE INSURANCE COMPANY, et al.                                              2:25-cv-2716

                                                                                                           Ref. No. or File No.:
                 PROOF OF SERVICE OF SUMMONS AND COMPLAINT                                                          INGLA-0192006.MM

                                              (Separate proof of service is required for each party served.)
1.     At the time of service I was at least 18 years of age and not a party to this action.
2.     I served copies of:
       a.      Summons in a Civil Action                                     e.      First amended complaint
       b.      Complaint                                                     f.      Second amended complaint
       c.      Civil Cover Sheet                                             g.      Third amended complaint
       d.       Other (specify documents): Notice to Counsel Re Consent to Proceed Before a United States Magistrate Judge; NOTICE OF ASSIGNMENT TO UNITED
                                                 STATES JUDGES; NOTICE TO PARTIES OF COURT−DIRECTED ADR PROGRAM; NOTICE OF INTERESTED PARTIES

3.     a. Party served (specify name of party as shown on documents served):
          STATE FARM MUTUAL AUTOMOBILE INSURANCE COMPANY

       b.        Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person
                 under item 5b on whom substituted service was made) (specify name and relationship to the party named in item 3a):
                 CSC, BY LEAVING WITH ALEX JENKINS, SERVICE OF PROCESS INTAKE CLERK


4.     Address where the party was served: 2710 GATEWAY OAKS DRIVE, SACRAMENTO, CA 95833

5.     I served the party (check proper box)
       a.         by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to
                  receive service of process for the party (1) on (date): 4/02/025             (2) at (time): 2:00 PM

       b.            by substituted service. On (date):                    at (time):              I left the documents listed in item 2 with or
                     in the presence of (name and title or relationship to person indicated in item 3a):



                    (1)             (Business) a person at least 18 years of age apparently in charge at the office or usual place of business
                                    of the person to be served. I informed him or her of the general nature of the papers.
                    (2)             (Home) a competent member of the household (at least 18 years of age) at the dwelling house or usual
                                    place of abode of the party. I informed him or her of the general nature of the papers.
                    (3)             (Physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing
                                    address of the person to be served, other than a United States Postal Service post office box. I informed
                                    him or her of the general nature of the papers.
                    (4)             I thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served
                                    at the place where the copies were left (Code Civ. Proc., § 415.20). I mailed the documents on
                                    (date):               from (city):                           or     a declaration of mailing is attached.
                    (5)             I attach a declaration of diligence stating actions taken first to attempt personal service.




                                                                                                                                                        Page 1 of 2
                                                                                                                                   Code of Civil Procedure, § 417.10
 Form Adopted for Mandatory Use                           PROOF OF SERVICE OF                                                           American LegalNet, Inc.
   Judicial Council of California                                                                                                       www.FormsWorkflow.com
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                                                                   #:44
                                                                                                        CASE NUMBER:
     PLAINTIFF/PETITIONER CHAIM DANIEL WOLMARK, an individual, et al.
                                                                                                             2:25-cv-2716
     DEFENDANT/RESPONDENT: STATE FARM MUTUAL AUTOMOBILE INSURANCE COMPANY, et al.




5.     c.            by mail and acknowledgment of receipt of service. I mailed the documents listed in item 2 to the party, to the
                     address shown in item 4, by first-class mail, postage prepaid,
                     (1) on (date):                                              (2) from (city):
                     (3)         with two copies of the Notice and Acknowledgment of Receipt and a postage-paid return envelope addressed
                                 to me. (Attach completed Notice and Acknowledgement of Receipt.) (Code Civ. Proc., § 415.30.)
                     (4)         to an address outside California with return receipt requested. (Code Civ. Proc., § 415.40.)

       d.             By other means (specify means of service and authorizing code section):


       e.            Additional page describing service is attached.

6. The "Notice to the Person Served" (on the summons) was completed as follows:
    a.        as an individual defendant.
    b.        as the person sued under the fictitious name of (specify):
       c.             as occupant.
       d.             On behalf of (specify):
                      Under the following Code of Civil Procedure section:
                                    416.10 (corporation)                              415.95 (business organization, form unknown)
                                      416.20 (defunct corporation)                    416.60 (minor)
                                      416.30 (joint stock company/association)        416.70 (ward or conservatee)
                                      416.40 (association or partnership)             416.90 (authorized person)
                                      416.50 (public entity)                          415.46 (occupant)
                                                                                       Other:
7.    Person who served papers
      a. Name: RITONG KYLEE IECHAD
      b. Address: 1605 W. Olympic Blvd., 8th Floor, Los Angeles, CA 90015
      c. Telephone number: (213) 975-9850
      d. The fee for service was: $195.00
      e. I am:
              (1)          Not a registered California process server.
              (2)          Exempt from registration under Business and Professions Code section 22350(b).
              (3)          a Registered California process server:
                           (i)      Owner          Employee            Independent contractor.
                           (ii) Registration No.: 150
                           (iii) County: SUTTER

 8.             I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.

                or
 9.             I am a California sheriff or marshal and I certify that the foregoing is true and correct.

Date: 4/03/25


                           RITONG KYLEE IECHAD                                   
            (NAME OF PERSON WHO SERVED PAPERS/SHERIFF OR MARSHAL)                                         (SIGNATURE)




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